Entered on Docket Aug. 12, 2010




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      10-12918-SJS      27 28Filed
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                                                 /s/ Shannon L. Kingston




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